Case 2:04-cV-02884-.]DB-tmp Document 18 Filed 07/06/05 Page 1 91°3- Page|D 25

IN THE UNITED sTATEs DISTRICT coURT m`BY'-J/~Y-’ij-DZC-`

FOR THE WESTERN DISTRICT OF TENNESSEE

wEsTERN DIVISIoN 05 JUL "5 PH 33 16

 

GILBERT LEVERNE, JR.,
Plaintiff,
vs.

Civ. No. 04-2884-B[P

SHELBY GR.OUP INTERNATIONAL,
INC . ,

v\..u~\_u~._¢~._r'~..z'~..z\_d`_rv-._n

Defendant.

 

ORDER GRANTING DEFEN'DANT'S MOTION TO COMPEL DISCOVERY

 

Before the court is defendant‘s Motion to Compel Discovery,
filed on June lO, 2005 (dkt #14). Local Rule 7.2(a)(2) requires
that

The response to the motion and its supporting

memorandum . . . shall be filed within fifteen
days after service of the motion and shall be
accompanied by a proposed order. Failure to

respond timely to any motion, other than one
requesting dismissal of a claim or action, may
be deemed good grounds for granting the
motion.
The plaintiff has not filed a response to the nmtion to
compel, and the time to respond has passed. Therefore, the motion
to compel is GRANTED. The plaintiff shall provide the defendant

with his initial disclosures and responses to defendant's First Set

of Interrogatories and Defendant’s First Set of Request

 

This document entered on the docket Sheet in compiiance

With Ru|e 58 and!or 79(a) FHCP on - (7’ 0

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for Production of Documents and Things within eleven (11) days from

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TU'M. PHAM`
United States Magistrate Judge

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Date

the date of this order.

IT IS SO ORDERED.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:04-CV-02884 Was distributed by faX, mail, or direct printing on
July 7, 2005 to the parties listed.

ESSEE

 

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CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

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Honorable .1. Breen
US DISTRICT COURT

